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BUSINESS LOAN AGREEMENT

Principal Loan Date Maturity Loan No Call } Coll Account Officer | Initials
$2,000,000.00 | 11-08-2023 |11-15-2033 | <iiay 040 03030

References in the boxes above are for Lender's use only and do not limit the applicabllily of this document to any particular loan or item.
Any item above containing "***" has been omitted due ta text fenath limitations.

Borrower:  Buy-MBE, LLC Lender: CapStar Bank
GULF COAST TECHNOLOGY CORPORATION Nashville Main
700 N, 10th Street P 0 Box 305065
Baton Rouge, LA 70802 1201 Demonbreun St., Suite 700

Nashville, TN 37230-5065

THIS BUSINESS LOAN AGREEMENT dated November 8, 2023, is made and executed between Buy-MBE, LLC; and GULF COAST TEGHNOLOGY
CORPORATION ("Borrower") and CapStar Bank ("Lender") on the following tarms and conditions, Sorrower has received prior commercial
loans from Lender or has applied to Lender for a commercial loan or loans or other financial accommodations, Including those which may be
described on any oxhibit or schedule attached to this Agreement. Borrower understands and agrees that: (A) in granting, renewlng, or
extending any Loan, Lender is relying upon Borrower's representations, warranties, and agreements as set forth In this Agreement; (B} the
granting, renewing, or extending of any Loan by Lender at all times shall be subject to Lender's sole Judgment and discretion; and (C) all such
Loans shall be and remain subject to the terms and conditions of this Agreement,

TERM. This Agreement shall be effective as of November 8, 2023, and shall continue in full force and effect until such time as all of Borrower's
Loans in favor of Lender have been paid in full, including principal, interesl, costs, expenses, attorneys’ fees, and other fees and charges, or
until such Ume as the parties may agree tn writing lo terminate this Agreement.

CONDITIONS PRECEDENT TO EACH ADVANCE. Lender's obligation to make the inilial Advance and each subsequent Advance under this
Agreement shall be subject to the fulfillment lo Lenders satisfaction of all of the conditions set forth in this Agreement and In the Related
Documents.

Loan Documents. Borrower shall provide to Lender the following documents for the Loan: (1) the Nole; (2) Security Agreements
granting to Lender security interests in the Collateral; (3) financing slatements and all other documents perfecting Lender's Securtly
interests; (4) evidence of insurance as required below; (S) guaranties; (6) together with all such Related Documents as Lender may
require for the Loan; all in form and substance satisfactory to Lender and Lender's counsel.

Borrower's Authorization, Borrower shall have provided in form and substance satisfactory to Lender properly certified resolutions, duly
authorizing the execution and delivery of this Agreement, the Note and the Related Documents. In addition, Borrower shall have provided
such other resolulions, authorizations, documents and instruments as Lender or ils counsel, may require.

Payment of Fees and Expenses. Borrower shall have pald ta Lender all fees, charges, and other expenses which are then due and payable
as specified in this Agreement ar any Relaled Document,

Representations and Warranties. The representations and warranties set forth in this Agreement, in the Related Documents, and in any
document or certificale delivered to Lender under thls Agreement are true and correct.

No Event of Default. There shall not exist at the lime of any Advance a conditlon which would constitute an Event of Default under this
Agreemenl or under any Related Document.

MULTIPLE BORROWERS. This Agreement has been executed by multiple abligors who are referred to in this Agreement Individually, collectively
and interchangeably as “Borrower.” Unless specifically staled to the contrary, (he word "Borrower" as used in this Agreement, Including
without limitation all representations, warranties and covenants, shall include all Borrowers. Borrower understands and agrees that, with or
without notice to any one Borrower, Lender may (A) make one or more additional secured or unsecured loans or otherwise extend addilional
credit with respecl to any olher Borrower; (B) with respect to any other Borrower alter, compromise, renew, exlend, accelerate, or otherwise
change one or more times the time for payment or other lerms of any indebtedness, including increases and clecreases of the rate of interest on
the Indebtedness; (C) exchange, enforce, waive, subordinale, fail or decide nol to perfect, and release any securily, with or without the
substitution of new collateral, (D) release, substitute, agree not to sue, or deal wilh any ane or more of Borrower's or any other Borrower's
sureties, endorsers, or other guarantors on any terms or in any manner Lender may choose; {E) determine how, when and what application of
poysiens and credits shall be made on any indebtedness; (F) apply such security and direct the order or manner of sale of any Collateral,
ncluding without limitation, any non-judiclal sale permitted by the terms of the controlling security agreement or deed of trust, as Lender in Its
discretion may determine; (G) sell, lransfer, assign or grant participations in all or any part of the Loan; (H) exercise or refrain from exercising
any rights against Borrower or olhers, or otherwise act or refrain frorn acting; ()) setile or compromise any indebledness; and (J) subordinate
the payment of all or any part of any of Borrower's Indebtedness to Lender to lhe payment of any liabilities which may be due Lender or others.

REPRESENTATIONS AND WARRANTIES. Borrower represents and warrants to Lender, as of the date of this Agreement, as of the date of each
disbursement of loan proceeds, as of the dale of any renewal, extension or modification of any Loan, and al all times any Indebtedness exists;

Organization. Buy-MBE, LLC |s a limited [lability company which Is, and al all times shall be, duly organized, validly existing, and in good
standing under and by virtue of the laws of the Stale of Maryland. Buy-MBE, LLC is duly authorized to transact business in all other states
in which Buy-MBE, LLC is doing business, having obtained! all necessary fillings, governmental licenses and approvals for each state in
which Buy-MBE, LLC Is doing business. Specifically, Buy-MBE, LLC is, and at all times shall be, duly qualified as a foreign limited flabilit
company in all states in which the fallure to so qualify would have a material adverse effect on Its bu

Buy-MBE, LLC has the full power and authority to own its properties and to transact the business in whid PLAINTIFF’S
presently proposes to engage. Buy-MBE, LLG maintains an offica al 700 N. 10th Streel, Baton Rouge, LA 7 HIBIT
has designated otherwise In writing, the principal office is the office at which Buy-MBE, LLC keeps its bog

records concerning the Collateral. Buy-MBE, LLC will notify Lender prior to any change in the location

organization or any change in Buy-MBE, LLC's name, Buy-MBE, LLC shall do all (things necessary to preserve)

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BUSINESS LOAN AGREEMENT

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effect its existence, rights and privileges, and shail comply with all regulations, rules, ordinances, statutes, orders and decrees of any
governmental or quasi-governmental authority or court applicable to Buy-MBE, LLC and Buy-MBE, LLC's business activitles.

GULF COAST TECHNOLOGY CORPORATION is a corporation for profit which is, and at alt times shall be, duly organized, validly existing,
and in good standing under and by virtue of the laws of the State of Louislana. GULF COAST TECHNOLOGY CORPORATION is duly
authorized to transact business in all other states in which GULF COAST TECHNOLOGY CORPORATION is doing business, having obtained
all necessary fillngs, governmental licenses and approvals for each state in which GULF COAST TECHNOLOGY CORPORATION is doing
business. Specifically, GULF COAST TECHNOLOGY CORPORATION is, and at alt tImes shall be, duly qualified as a foreign corporation in
al! states in which the failure to so qualify would have a material adverse effect on \ts business or financial condition. GULF COAST
TECHNOLOGY CORPORATION has the full power and authority to own its properties and to transact the business in which it is presently
engaged or prasently proposes to engage, GULF COAST TECHNOLOGY CORPORATION malntains its principal office at 700 N, 10th
Street, Baton Rouge, LA 70802. Unless GULF COAST TECHNOLOGY CORPORATION has designated otherwise in writing, this is the
principal office at which GULF COAST TECHNOLOGY CORPORATION keeps its books and records including its records concerning the
Collateral. GULF COAST TECHNOLOGY CORPORATION will notify Lender prior to any change in the location of GULF COAST
TECHNCLOGY CORPORATION’s state of organization or any change in GULF COAST TECHNOLOGY CORPORATION's name. GULF
COAST TECHNOLOGY CORPORATION shall do all things necessary to preserve and to keep in full force and effect its existence, rights and
privileges, and shall comply with ali regulations, rules, ordinances, statutes, orders and decrees of any governmental or quasi-governmental
authority or court applicable to GULF COAST TECHNOLOGY CORPORATION and GULF COAST TECHNOLOGY CORPORATION's business
activities.

Assumed Business Names. Borrower has filed or recorded all documents or filings required by law relating to all assumed business names
used by Borrower. Excluding the name of Borrower, the following is a complete list of all assumed business names under which Borrower
does business: None.

Authorization. Borrower's execution, delivery, and performance of this Agreement and ail the Related Documents have been duly
authorized by all necessary action by Borrower and do not conflict with, result in a violation of, or constitute a default under (1) any
provision of (a) Borrower's arlicles of incorporation or organization, or bylaws, or (b) Borrower's articles of organization or membership
agreements, or (c) any agreement or ather instrument binding upon Borrower or (2) any law, governmental regulation, court decree, or
order applicable to Borrower or to Borrower's properties.

Financial Information. ach of Borrower's financial statements supplled to Lender truly and completely disclosed Borrower's financial
condition as of the date of the statement, and there has bsen no material adverse change In Borrower's financial condition subsequent to
the date of the most recent financial statement supplied to Lender. Borrower has no material contingent obligations except as disclosed in
such financial statements.

Legal Effect. This Agreement constitutes, and any instrument or agreement Borrower Is required to glve under this Agreement when
delivered will constitute legal, valid, and binding obligations of Borrower enforceable against Borrower in accordance with their respective
terms.

Properties. Except as contemplated by this Agreement or as previously disclosed in Borrower's financial statements or In writing to Lender
and as accepted by Lender, and except for property tax liens for taxes not presently due and payable, Borrower owns and has good title to
all of Borrower's properties free and clear of all Security Interests, and has not executed any security documents or financing statements
relating to such properties. All of Borrower's properties are titled in Borrower's legal name, and Borrower has not used or filed a financing
statement under any other name for at least the last five (5) years.

Hazardous Substances. Except as disclosed to and acknowledged by Lender in writing, Borrower represents and warrants that: (1) During
the period of Borrower's ownership of the Collateral, there has been no use, generation, manufacture, storage, treatment, disposal, relaase
or threatened release of any Hazardous Substance by any person on, under, about or from any of the Collateral. (2} Borrower has no
knowledge of, or reason to believe that there has been (a) any breach or violation of any Environmental Laws; (b) any use, generation,
manufacture, storage, treatment, disposal, release or threatened release of any Hazardous Substance on, under, about or from the
Collateral by any prior owners or occupants of any of the Collateral; or (c) any actual or threatened litigation or claims of any kind by any
person relating to such matters. (3) Neither Borrower nor any tenant, contractor, agent or other authorized user of any of the Collateral!
shail use; generate, manufacture, store, treat, dispose of or release any Hazardous Substance on, under, about or from any of the
Collateral; and any such activity shall be conducted in compliance with all applicable federal, state, and local laws, regulations, and
ordinances, including without limitation all Environmental Laws. Borrower authorizes Lender and its agents to enter upon the Collateral to
make such inspections and tests as Lender may deem appropriate to determine compliance of the Collateral with this section of the
Agreement. Any Inspections or tests made by Lender shall be at Borrower's expense and for Lender's purposes only and shall not be
construed to create any responsibility or liability on the part of Lender to Borrower or to any other person, The representations and
warranties contained herein are based on Borrower's due diligence in investigating the Collateral for hazardous waste and Hazardous
Substances. Borrower hereby (1) releases and waives any future claims against Lender for indemnity or contribution in the event
Borrower becomes Ilable for cleanup or other costs under any such laws, and (2) agrees to indemnify, defend, and hold harmless Lender
against any and ali claims, losses, llabllities, damages, penalties, and expenses which Lender may directly or indirectly sustain or suffer
resulting from a breach of this section of the Agreement or as a consequence of any use, generation, manufacture, storage, disposal,
release or threatened release of a hazardous waste or substance on the Collateral. Tha provisions of this section of the Agreement,
including the obligation to indemnify and defend, shall survive the payment of the Indebtedness and the termination, expiration or
satisfaction of this Agreement and shall not be affected by Lender's acquisition of any interest in any of the Collateral, whether by
foreclosure or otherwise.

Litigation and Claims. No litigation, claim, investigation, administrative proceeding or similar action (including those for unpaid taxes)
against Borrower Is pending or threatened, and no other event has occurred which may materially adversely affect Borrower's financial
condition or properties, other than litigation, claims, or other events, if any, that have been disclosed to and acknowledged by Lender in
writing.

Taxes. To the best of Borrower's knowledge, all of Borrower's tax returns and reports that are or were required to be filed, have been
filed, and all taxes, assessments and other governmental charges have been paid tn full, except those presently being or to be contested by
Borrower in good faith in the ordinary course of business and for which adequate reserves have been provided.

Lien Priority. Unless otherwise previously disclosed to Lender in writing, Borrower has not entered into or granted any Security
Agreements, or permitted the fillng or attachment of any Security Interests on or affecting any of the Collateral directly or indirectly
securing repayment of Borrower's Loan and Note, that would be prior or that may in any way be superior to Lender's Security Interests and
rights in and to such Collateral.

Binding Effect. This Agreement, the Note, all Security Agreements (if any), and all Related Documents are binding upon the signers
thereof, as well as upon their successors, representatives and assigns, and are iegally enforceable in accordance with their respective
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BUSINESS LOAN AGREEMENT
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terms.
AFFIRMATIVE COVENANTS. Borrower covenants and agrees with Lender that, so lang as this Agreement remalns in effect, Borrower will:

Notices of Claims and Litigation. Promptly inform Lender in writing of (1) all material adverse changes in Borrower's financlal condition,
and (2) all existing and all threatened litigation, claims, investigations, administrative proceedings or similar actions affecting Borrower or
any Guarantor which could materially affect the financial condition of Borrower or the financial condition of any Guarantor.

Financial Records. Malntaln ifs books and records in accordance with GAAP, or an OCBOA acceptable to Lender, applled on a consistent
basis, and permit Lender to examine and audit Borrower's books and records at all reasonable times.

Financial Statements. Furnish Lender with such financial statements and other related information at such frequencies and in such detail as
Lender may reasonably request.

Additional Information. Furnish such additional information and statements, as Lender may request from time to time.

Additional Requirements. Annual tax returns are required from the following within 90 days of year end or within 30 days of filing:
Buy-MBE, LLC, Gulf Coast Technology Corporation, Stephanie Rawlings-Blake }

Yearly tax returns (or yearend financials if tax returns are not available) and interim financials {to Include income statement and balance
sheet) six months after business yearend. This requirement will remain until the business has a debt coverage ratio (DCR) acceptable to
Bank based on a Federal Tax Return.

Should borrower default on any SBA loans, this loan will become due and payable.
Borrower is prohibited from leasing space to any business engaged In any activity that is illegal under federal, state or local law.

Insurance. Maintain fire and other risk Insurance, public fiability insurance, and such other insurance as Lender may require with respect fo
Borrower's properties and operations, in form, amounts, coverages and with Insurance companies acceptable to Lender. Borrower, upon
request of Lender, will deliver to Lender from time to time the policies or certificates of insurance in form satisfactory to Lender, including
stipulations that coverages will not be cancelled or diminished without at least thirty (30) days prior written notice to Lender. Each
insurance policy also shall include an endorsement providing that coverage in favor of Lender will not be impaired in any way by any act,
omission or default of Borrower or any other person. In connection with all policies covering assets in which Lender holds or Is offered a
security interest for the Loans, Borrower will provide Lender with such lender's loss payable or other endorsements as Lender may require.

Insurance Reports, Furnish to Lender, upon request of Lender, reports on each existing insurance policy showing such Information as
Lender may reasonably request, including without limitation the following: (1) the name of the insurer; (2) the risks Insured; (3) the |
amount of the policy; (4) the properties insured; (5) the then current property values on the basis of which Insurance has been obtained, |
and the manner of determining those values; and (6) the expiration date of the policy. In addition, upon request of Lender (however not |
more often than annually), Borrower will have an independent appraiser satisfactory to Lender determine, as applicable, the actual cash

value or replacement cost of any Collateral. The cost of such appraisal shall be paid by Borrower.

Guaranties. Prior to disbursement of any Loan proceeds, furnish executed guaranties of the Loans in favor of Lender, executed by the
guarantor named below, on Lender's forms, and in the amount and under the conditions set forth in those guaranties.

Name of Guarantor Amount

Stephanie Rawiings-Blake, aka Uniilmited
Stephanie C. Rawlings

Other Agreements. Comply with all terms and conditions of alt other agreements, whether now or hereafter existing, between Borrower
and any other party and notify Lender immediately in writing of any default in connection with any other such agreements.

Loan Proceeds. Use all Loan proceeds solely for Borrower's business operations, unless specifically consented to the contrary by Lender in
writing.

Taxes, Charges and Liens. Pay and discharge when due all of its indebtedness and obligations, including without limitation all assessments,
taxes, governmental charges, levies and llens, of every kind and nature, imposed upon Borrower or its properties, income, or profits, prior
to the date on which penalties would attach, and all lawful claims that, if unpaid, might become a lien or charge upon any of Borrower's
properties, income, or profits. Provided however, Borrower will not be required to pay and discharge any such assessment, tax, charge,
levy, lien or claim so long as (1) the legality of the same shall be contested In good faith by appropriale proceedings, and (2) Borrower
shall have established on Borrower's books adequate reserves with respect to such contested assessment, tax, charge, levy, lien, or claim
in accordance with GAAP or an OCBOA acceptable to Lender.

Performance. Perform and comply, in a timely manner, with all terms, conditions, and provisions set forth in thls Agreement, in the Related
Documents, and in all other instruments and agreements between Borrower and Lender. Borrower shall notify Lender immediately in
writing of any default in connection with any agreement.

Operations. Maintain executive and management personnel with substantially the same qualifications and experience as the present
executive and management personnel; provide written notice to Lender of any change in executive and management personnel; conduct its
business affairs in a reasonable and prudent manner.

Environmental Studies. Promptly conduct and complete, at Borrower's expense, all such investigations, studies, samplings and testings as
may be requested by Lender or any governmental authority relative to any substance, or any waste or by-product of any substance defined
as toxic or a hazardous substance under applicable federal, state, or local law, rule, regulation, order or directive, at or affecting any
property or any facility owned, leased or used by Borrower.

Compliance with Governmental Requirements. Comply with all laws, ordinances, and regulations, now or hereafter in effect, of all
governmental authorities applicable to the conduct of Borrower's properties, businesses and operations, and to the use or occupancy of the
Collateral, including without limitation, the Americans With Disabilities Act. Borrower may contest in good faith any such law, ordinance,
or regulation and withhold compliance during any proceeding, including appropriate appeals, so long as Borrower has notified Lender in
writing prior to doing so and so long as, in Lender's sole opinion, Lender's interests in the Collateral are not jeopardized. Lender may
require Borrower to post adequate security or a surety bond, reasonably satisfactory to Lender, to protect Lender's interest.

Inspection. Permit employees or agents of Lender at any reasonable time to inspect any and all Collateral for the Loan or Loans and
Borrower's ather properties and to examine or audit Borrower's books, accounts, and records and to make copies and memoranda of
Borrower's books, accaunts, and records. If Borrower now or at any time hereafter maintains any records {including without limitation
computer generated records and computer software programs for the generation of such records) in the possession of a third party,
Borrower, upon request of Lender, shall notify such party to permit Lender free access to such records at all reasonable times and to

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BUSINESS LOAN AGREEMENT
Loan No: 880118 (Continued) Page 4

provide Lender with copies of any records it may request, all at Borrower's expense.

Environmental Compliance and Reports. Borrower shall comply in all respects with any and all Environmental Laws, not cause or permit to
exist, as a result of an intentional! or unintentional action or omission on Borrower's part or on the part of any third party, on property
owned and/or occupied by Borrower, any environmental activity where damage may result to the environment, unless such environmental
activity is pursuant to and in compliance with the conditions of a permit issued by the appropriate federal, state or local governmental
authorities; shall furnish to Lender promptly and in any event within thirty (30) days after recelpt thereof a copy of any notice, summons,
lien, citation, directive, letter or other communication from any governmental agency or instrumentality concerning any intentional or
unintentional action or omission on Borrower's part in connection with any environmental activity whether or not there is damage to the
environment and/or other natural resources.

Additional Assurances. Make, execute and deliver to Lender such promissory notes, morlgages, deeds of trust, security agreements,
assignments, financing statements, instruments, documents and other agreements as Lender or Its attorneys may reasonably request fo
evidence and secure the Loans and to perfect all Security Interests.

LENDER'S EXPENDITURES. If any action or proceeding Is commenced that would materially affect Lender's interest in the Collateral or if
Borrower fails to comply with any provision of this Agreement or any Related Documents, including but not limited to Borrower's failure to
discharge or pay when due any amounts Borrower is required to discharge or pay under this Agreement or any Related Documents, Lender on
Borrower's behalf may (but shall not be obligated to) take any action that Lender deems appropriate, including but not limited to discharging or
paying all taxes, liens, security interests, encumbrances and other claims, at any time levied or placed on any Collateral and paying all costs for
insuring, maintaining and preserving any Collateral. All such expenditures incurred or paid by Lender for such purposes will then bear interest at
the rate charged under the Note from the date incurred or pald by Lender to the date of repayment by Borrower. All such expenses wilf become
a part of the Indebtedness and, at Lender's option, will (A) be payable on demand; (B) be added to the balance of the Note and be
apportioned among and be payable with any installment payments to become due during elther (1) the term of any applicable insurance policy;
or (2) the remaining term of the Note; or (C) be treated as a balloon payment which will be due and payable at the Note’s maturity.

NEGATIVE COVENANTS. Borrower covenants and agrees with Lender that while this Agreement is in effect, Borrower shall not, without the
prior written consent of Lender:

Indebtedness and Liens. (1) Except for trade debt incurred in the normal course of business and indebtedness to Lender contemplated by
this Agreement, create, incur or assume indebtedness for borrowed money, including finance leases, (2) sell, transfer, mortgage, assign,
pledge, lease, grant a security interest in, or encumber any of Borrower's assets (except as allowed as Permitted Liens), or (3) sell with
recourse any of Borrower's accounts receivable, except to Lender.

Continuity of Operations. (1) Engage In any business activities substantially different than those in which Borrower is presently engaged,
(2) cease operations, liquidate, merge or restructure as a legal entity (whether by division or otherwise), consolidate with or acquire any
other entity, change its name, convert to another type of entity or redomesticate, dissolve or transfer or sell Collateral out of the ordinary
course of business, or (3) pay any dividends on Borrower's stock (other than dividends payable In its stock), provided, however that
notwithstanding the foregoing, but only so long as no Event of Default has occurred and is continuing or would result from the payment of
dividends, if Borrower is a "Subchapter S Corporation” (as defined in the Internal Revenue Code of 1986, as amended), Borrower may pay
cash dividends on its stock to its shareholders from time fo time in amounts necessary to enable the shareholders to pay income taxes and
make estimated income tax payments to satisfy their fiabilities under federal and state law which arise solely from their status as
Shareholders of a Subchapter S Corporation because of their ownership of shares of Borrower's stock, or purchase or retire any of
Borrower's outstanding shares or alter or amend Borrower's capital structure.

Loans, Acquisitions and Guaranties. (1) Loan, invest in or advance money or assets to any other person, enterprise or entity, (2)
purchase, create or acquire any interest in any other enterprise or entity, or (3) incur any obligation as surety or guarantor other than In
the ordinary course of business.

Agreements. Enter into any agreement containing any provisions which would be violated or breached by the performance of Borrower's
obligations under this Agreement or in connection herewith.

CESSATION OF ADVANCES. If Lender has made any commitment to make any Loan to Borrower, whether under this Agreement or under any
other agreement, Lender shall have no obligation to make Loan Advances or to disburse Loan proceeds if. (A) Borrower or any Guarantor is in
default under the terms of this Agreement or any of the Related Documents or any other agreement that Borrower or any Guarantor has with
Lender; (B) Borrower or any Guarantor dies, becomes incompetent or becomes insolvent, files a petition in bankruptcy or similar proceedings,
or is adjudged a bankrupt; (C) there occurs a material adverse change in Borrower's financial condition, in the financial condition of any
Guarantor, or in the value of any Collateral securing any Loan; or (D) any Guarantor seeks, claims or otherwise attempts to limit, madlfy or
revoke such Guarantors guaranty of the Loan or any other toan with Lender.

RIGHT OF SETOFF. To the extent permitted by applicable law, Lender reserves a right of setoff in all Borrower's accounts with Lender (whether
checking, savings, or some olher account), This includes all accounts Borrower may open in the future. However, this does not include any
IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited by law. Borrower authorizes Lender, to the extent permitted
by applicable law, to charge or setoff all sums owing on the Indebtedness against any and all such accounts.

DEFAULT. Each of the following shall constitute an Event of Default under this Agreement:
Payment Default. Borrower fails to make any payment when due under the Loan.

Other Defaults. Borrower fails to comply with or to perform any other term, obligation, covenant or condition contained in this Agreement
or In any of the Related Documents or to comply with or to perform any term, obligation, covenant or condition contained in any other
agreement between Lender and Borrower.

Defauft In Favor of Third Parties. Borrower or any Grantor defaults under any loan, extension of credit, security agreement, purchase or
sales agreement, or any olher agreement, in favor of any other creditor or person that may materially affect any of Borrower’s or any
Grantor's property or Borrower's or any Grantor's ability to repay the Loans or perform their respective obligations under this Agreement or
any of the Related Documents.

Faise Statements. Any warranty, representation or statement made or furnished to Lender by Borrower or on Borrower's behalf under this
Agreement or the Related Documents Is false or misteading in any material respect, either now or at the time made or furnished or becomes
false or misleading at any time thereafter.

Insolvency. The dissolution or termination of Borrower's existence as a going business, the inscivency of Borrower, the appointment of a
recelver for any part of Borrower's property, any assignment for the benefit of creditors, any type of creditor workout, or the
commencement of any proceeding under any bankruptcy or insolvency laws by or against Borrower.

Defective Collateralization. This Agreement or any of the Related Documents ceases to be in fult force and effect (Including failure of any

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BUSINESS LOAN AGREEMENT
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collateral document to create a valid and perfacted security Interest or fen) at any time and for any reason.

Creditor or Forfeiture Proceedings. Commencement of foreclosure or forfeiture proceedings, whether by judiclal proceeding, self-help,
repossession or any other method, by any creditor of Borrower or by any governmental agency against any collateral securing the Loan.
This includes a garnishment of any of Borrower's accounts, Including deposit accounts, with Lender. However, this Event of Default shall
not apply if there is a good faith dispute by Borrower as to the validity or reasonableness of the claim which is the basis of the creditor or
forfelture proceeding and if Borrower gives Lender written notice of the creditor or forfeiture proceeding and deposits with Lender monies or
@ surety bond for the creditor or forfeiture proceeding, in an amount determined by Lender, in its sole discretion, as being an adequate
reserve or bond for the dispute.

Events Affecting Guarantor. Any of the preceding events occurs with respect fo any Guarantor of any of the Indebtedness or any
Guarantor dies or becomes incompetent, or revokes or disputes the validity of, or liability under, any Guaranty of the Indebtedness.

Change in Ownership. Any change in ownership of twenty-five percent (25%) or more of the common stock of Borrower.

Adverse Change. A material adverse change occurs in Borrower's financial condition, or Lender belleves the prospect of payment or
performance of the Loan js impaired.

Right to Cure, if any default, other than a default on Indebtedness, is curable and if Borrower or Grantor, as the case may be, has not been
given a notice of a similar default within the preceding twelve (12) months, It may be cured if Borrower or Grantor, as the case may be,
after Lender sends written notice to Borrawer or Grantor, as the case may be, demanding cure of such default: (1) cure the default within
ten (10) days; or (2) if the cure requires more than ten (10) days, immediately initiate steps which Lender deems in Lender's sole
discretion to be sufficient to cure the default and thereafter continue and complete all reasonable and necessary steps sufficient to produce
compllance as soan as reasonably practical.

EFFECT OF AN EVENT OF DEFAULT. If any Event of Default shall occur, except where otherwise provided In thls Agreement or the Related
Documents, all commitments and obligations of Lender under thls Agreement or the Related Documents or any other agreement Immediately will
terminate (including any obligation to make further Loan Advances or disbursements), and, at Lender's option, all Indebtedness immediately will
become due and payable, all without notice of any kind to Borrower, except that in the case of an Event of Default of the type described in the
"Insolvency" subsection above, such acceleratlon shall be automatic and not optional. In addition, Lender shall have all the rights and remedies
provided in the Related Documents or available at law, in equity, or otherwise. Except as may be prohibited by applicable law, all of Lender's
rights and remedies shall be cumulative and may be exercised singularly or concurrently. Election by Lender to pursue any remedy shall not
exclude pursuit of any other remedy, and an election to make expenditures or to take action to perform an obligation of Borrower or of any
Grantor shall not affect Lender's right to declare a default and to exercise its rights and remedies.

MISCELLANEOUS PROVISIONS. The following miscellaneous provisions ara a part of this Agreement:

Amendments. This Agreement, together with any Related Documents, constitutes the entire understanding and agreement of the parties
as to the matters set forth in this Agreement. No alteration of or amendment to this Agreement shail be effective unless given in writing
and signed by the party or parties sought to be charged or bound by the alteration or amendment.

Attorneys’ Fees; Expenses, Borrower agrees to pay upon demand all of Lender's costs and expenses, including Lender's attorneys’ fees
and Lender's legal expenses, incurred in connection with the enforcement of this Agreement. Lender may hire or pay someone else to help
enforce this Agreement, and Borrower shall pay the costs and expenses of such enforcement. Costs and expenses include Lender's
attorneys’ fees and legal expenses whether or not there is a lawsuit, including attorneys' fees and ‘egal expenses for bankruptcy
proceedings (including efforts to modify or vacate any automatic stay or injunction), appeals, and any anticipated post-judgment collection
services. Borrower also shall pay all court costs and such additional fees as may be directed by the court.

Caption Headings. Caption headings in this Agreement are for convenience purposes only and are not to be used to interpret or define the
provisions of this Agreement.

Consent to Loan Participation. Borrower agrees and consents to Lender's sale or transfer, whether now or later, of one or more
participation interests in the Loan to one or more purchasers, whether related or unrelated to Lender. Lender may provide, without any
limitation whatsoever, to any one or more purchasers, or potential purchasers, any information or knowledge Lender may have about
Borrower or about any other matter relating to the Loan, and Borrower hereby waives any rights to privacy Borrower may have with respect
to such matters. Borrower additionally waives any and all notices of sale of participation interests, as well as all notices of any repurchase
of such participation interests. Borrower also agrees that the purchasers of any such participation interests will be considered as the
absolute owners of such interests in the Loan and will have all the rights granted under the participation agreement or agreements
governing the sale of such participation interests. Borrower further waives ail rights of offset or counterclalm that ft may have now or later
against Lender or against any purchaser of such a participation interest and unconditionally agrees that either Lender or such purchaser may
enforce Borrower's obligation under the Loan irrespective of the failure or insolvency of any holder of any interest In the Loan. Borrower
further agrees that the purchaser of any such participation interests may enforce its interests irrespective of any persona) claims or
defenses that Borrower may have agalnst Lender.

Applicable Law. The Loan secured by this {len was made under a United States Small Business Administration (SBA) nationwide program
which uses tax dollars to assist small business owners. [f the United States |s seeking to enforce this document, then under SBA
tegulations: (a) When SBA is the holder of the Note, this document and all documents evidencing or securing this Loan will be construed in
accordance with federal law. (b) Lender or SBA may use local or state procedures for purposes such as filing papers, recording documents,
giving notice, foreclosing liens, and other purposes. By using these procedures, SBA does not waive any federal immunity from tocal or
state control, penalty, tax or lability. No Borrower ar Guarantor may claim or assert against SBA any local or state law to deny any
obligation of Borrower, or defeat any claim of SBA with respect to this Loan. (c) Any clause in thls document requiring arbitration is not
enforceable when SBA Is the holder of the Note secured by this instrument.

Choice of Venue. If there is a Jawsult, Borrower agrees upon Lender's request to submit to the jurisdiction of the courts of Davidson
County, State of Tennessee.

Joint and Several Liability. All obligations of Borrower under this Agreement shall be Joint and several, and all references to Borrower shall
mean each and every Borrower. This means that each Borrower signing below is responsible for all obligations In this Agreement. Where
any one or more of the parties is a corporation, partnership, limited liability company or similar entity, it is not necessary for Lender to
inquire into the powers of any of the officers, diractors, partners, members, or other agents acting or purporting to act on the entity's
behalf, and any obligations made or created In reliance upon the professed exercise of such powers shall be guaranteed under this
Agreement.

No Waiver by Lender, Lender shall not be deemed to have waived any rights under this Agreement unless such waiver {is given In writing
and signed by Lender, No delay or omission on the part of Lender in exercising any right shall operate as a waiver of such right or any
other right. A waiver by Lender of a provision of this Agreement shall not prejudice or constitute a waiver of Lender's right otherwise to

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demand strict compliance with that provision or any other provision of this Agreement. No prior waiver by Lender, nor any course of
dealing between Lender and Borrower, or between Lender and any Grantor, shall constitute a waiver of any of Lender's rights or of any of
Borrower's or any Grantor's obligations as to any future transactions. Whenever the consent of Lender is required under this Agreement,
the granting of such consent by Lender in any instance shall not constitute continuing consent to subsequent instances where such consent
is required and in all cases such consent may be granted or withheld in the sole discretion of Lender.

Notices, Any notice required to be given under this Agreement shall be given in writing, and shall be effective when actually delivered,
when actually received by telefacsimile (unless otherwise required by law), when deposited with a nationally recognized overnight courier,
or, if mailed, when deposited in the United States mail, as first class, certified or registered mail postage prepaid, directed to the addresses
shown near the beginning of this Agreement. Any party may change Its address for notices under this Agreement by giving formal written
notice to the other parties, specifying that the purpose of the notice is to change the party's address. For notice purposes, Borrower
agrees to keep Lender informed at all times of Borrower's current address, Unless otherwise provided or required by law, if there is more
than one Borrower, any notice given by Lender to any Borrower is deemed to be notice given to all Borrowers.

Severability. If a court of competent jurisdiction finds any provision of this Agreement to be illegal, invalid, or unenforceable as to any
person or circumstance, that finding shall not make the offending provision Illegal, invalid, or unenforceable as to any other person or
circumstance. If feasible, the offending provision shall be considered modified so that it becomes legal, valid and enforceable. If the
offending provision cannot be so modified, It shall be considered deleted from this Agreement. Unless otherwise required by law, the
Wegality, Invalidity, or unenforceability of any provision of this Agreement shall not affect the legality, validity or enforceability of any other
provision of this Agreement.

Subsidiaries and Affiliates of Borrower. To the extent the context of any provisions of this Agreement makes it appropriate, including
without limitation any representation, warranty or covenant, the word "Borrower" as used In this Agreement shall include afl of Borrower's
subsidiaries and affiliates. Notwithstanding the foregoing however, under no circumstances shall this Agreement be construed to require
Lender to make any Loan or other financial accommodation to any of Borrower's subsidiaries or affiliates.

Successors and Assigns. All covenants and agreements by or on behalf of Borrower contained in this Agreement or any Related
Documents shall bind Borrower's successors and assigns and shail inure to the benefit of Lender and its successors and assigns, Borrower
shall not, however, have the right to assign Borrower's rights under this Agreement or any interest therein, without the prior written
consent of Lender.

Survival of Representations and Warranties. Borrower understands and agrees that In making the Loan, Lender Is relying on all
representations, warranties, and covenants made by Borrower in this Agreement or in any certificate or other instrument dellvered by
Borrower to Lender under this Agreement or the Related Documents. Borrower further agrees that regardless of any Investigation made by
Lender, all such representations, warranties and covenants will survive the making of the Loan and delivery to Lender of the Related
Documents, shalt be continuing in nature, and shall remain in full force and effect until such time as Borrower's Indebtedness shall be paid
in full, or until this Agreement shall be terminated in the manner provided above, whichever Is the last to occur.

Time [s of the Essence. Time is of the essence in the performance of this Agreement.

Waive Jury. All parties to this Agreement hereby waive the right to any jury trial In any action, proceeding, or counterclaim brought by any
party against any other party.

DEFINITIONS. The following capitalized words and terms shall have the following meanings when used in this Agreement. Unless specifically
stated to the contrary, all references to dollar amounts shall mean amounts in lawful money of the United States of America. Words and terms
used in the singular shall include the plural, and the plural shall include the singular, as the context may require. Words and terms not otherwise
defined in this Agreement shall have the meanings attributed to such terms in the Uniform Commercial Code, Accounting words and terms not
otherwise defined in this Agreement shall have the meanings assigned to them in accordance with generally accepted accounting principles as in
effect on the date of this Agreement

Advance. The word "Advance" means a disbursement of Loan funds mada, or to be made, to Borrower or on Borrower's behalf on a line
of credit or multiple advance basis under the terms and conditions of this Agreement.

Agreement. The word "Agreement" means this Business Loan Agreement, as this Business Loan Agreement may be amended or modified
from time to time, together with all exhibits and schedules attached to this Business Loan Agreement from time to time.

Borrower. The word "Borrower" means Buy-MBE, LLC; and GULF COAST TECHNOLOGY CORPORATION and includes all co-signers and
co-makers signing the Note and all their successors and assigns.

Collateral. The word "Collateral" means all property and assets granted as collateral security for a Loan, whether real or personal property,
whether granted directly or Indirectly, whether granted now or in the future, and whether granted in the form of a security interest,
mortgage, collateral mortgage, deed of trust, assignment, pledge, crop pledge, chattel morlgage, collateral chattel mortgage, chattel trust,
factor's lien, equipment trust, conditional sale, trust receipt, lien, charge, lien or title retention contract, lease or consignment intended as a
security device, or any other security or lien interest whatsoever, whether created by law, contract, or otherwise.

Environmental Laws. The words “Environmental Laws" mean any and all state, federal and local statutes, regulations and ordinances
relating to the protection of human health or the environment, including without limitation the Comprehensive Environmental Response,
Compensation, and Liability Act of 1980, as amended, 42 U.S.C. Section 9601, et seg. ("CERCLA"), the Superfund Amendments and
Reauthorization Act of 1986, Pub. L. No, 99-499 ("SARA"), the Hazardous Materials Transportation Act, 49 U.S.C. Section 1801, et seq.,
the Resource Conservation and Recovery Act, 42 U.S.C. Section 6901, et seq., or other applicable state or federal laws, rules, or
regulations adopted pursuant thereto. Also, the following statutes, rules and regulations are included, without limitation, in the words
"Environmental Laws" as they are applied to Collateral located in the referenced states: the Massachusetts Hazardous Waste Management
Act, Mass. Gen. Laws Ch. 21C, the Massachusetts Ojl and Hazardous Materlal Release Prevention Act, Mass. Gen, Laws, Ch. 21E.

Event of Default. The words “Event of Default" mean any of the events of default set forth in this Agreement In the default section of this
Agreement.

GAAP. The word "GAAP" means generally accepted accounting principles.

Grantor. The word "Grantor" means each and all of the persons or entities granting a Security Interest in any Collateral for the Loan,
including without limitation all Borrowers granting such a Security Interest.

Guarantor. The word "Guarantor" means any guarantor, surety, or accommodation party of any or all of the Loan.

Guaranty. The word "Guaranty" means the guaranty from Guarantor to Lender, including without limitation a guaranty of all or part of the
Note.

Hazardous Substances. The words “Hazardous Substances" mean materials that, because of their quantity, concentration or physical,

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chemical or infectious characteristics, may cause or pose a present or potential hazard to human health or the environment when
improperly used, treated, stored, disposed of, generated, manufactured, transported or otherwise handled. The words "Hazardous
Substances" are used in their very broadest sense and Include without limitation any and all hazardous or toxic substances, materials or
waste as defined by or listed under the Environmental Laws. The term "Hazardous Substances" also includes, without limitation, petroleum
and petroleum by-products or any fraction thereof and asbestos.

Indebtedness. The word "Indebtedness" means the Indebtedness evidenced by the Note or Related Documents, including all principal and
interest together with all other indebtedness and costs and expenses for which Borrower is responsible under this Agreement or under any
of the Related Documents.

Lender. The word "Lender" means CapStar Bank, its successors and assigns.

Loan. The word "Loan" means any and all loans and financial accommodations from Lender to Borrower whether now or hereafter
existing, and however evidenced, including without Ilmitation those loans and financial accommodations described herein or described on
any exhibit or schedule attached to this Agreement from time to time.

Note. The word "Note" means the Note dated November 8, 2023 and executed by Buy-MBE, LLC; and GULF COAST TECHNOLOGY
CORPORATION in the principal amount of $2,000,000.00, together with alt renewals of, extensions of, modifications of, reflnancings of,
consolidations of, and substitutions for the note or credit agreement.

OCBOA. The term "OCBOA" means Other Comprehensive Basis of Accounting, as designated by Lender in writing as an acceptable
alternative to GAAP.

Permitted Liens. The words “Permitted Liens" mean (1) liens and security interests securing Indebtedness owed by Borrower to Lender;
(2) liens for taxes, assessments, or similar charges either not yet due or being contested in good faith; (3) liens of materlalmen,
mechanics, warehousemen, or carrlers, or other like liens arising in the ordinary course of business and sacuring obligations which are not
yet delinquent; (4) purchase money liens or purchase money security interests upon or in any property acquired or held by Borrower in the
ordinary course of business to secure indebtedness outstanding on the date of this Agreement or permitted to be incurred under the
paragraph of this Agreement titled “Indebtedness and Liens", (5) liens and security interests which, as of the date of this Agreement,
have been disclosed to and approved by the Lender In writing; and (6) those liens and security Interests which in the aggregate constitute
an immaterial and insignificant monetary amount with respect to the net value of Borrower's assets.

Related Documents. The words "Related Documents” mean all promissory notes, credit agreements, loan agreements, environmental
agreements, guaranties, securlty agreements, mortgages, deeds of trust, security deeds, collateral mortgages, and ali other instruments,
agreements and documents, whether now or hereafter existing, executed in connection with the Loan.

Security Agreement. The words "Security Agreement’ mean and include without limitation any agreements, promises, covenants,
arrangements, understandings or other agreements, whether created by law, contract, or otherwise, evidencing, governing, representing, or
creating a Security Interest.

Security Interest. The words "Security Interest’ mean, without limitation, any and all types of collateral security, present and future,
whether in the form of a tien, charge, encumbrance, mortgage, dead of trust, security deed, assignment, pledge, crop pledge, chattel
mortgage, collateral chattel mortgage, chattel trust, factor's lien, equipment trust, conditional sale, trust receipt, lien or title retention
contract, lease or consignment intended as a security device, or any other security or lien interest whatsoever whether created by law,
contract, or otherwise.

BORROWER ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS BUSINESS LOAN AGREEMENT AND BORROWER AGREES TO
ITS TERMS. TH/S BUSINESS LOAN AGREEMENT IS DATED NOVEMBER 8, 2023.

BORROWER;

BUY-MBE, LLC

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By: ¢

Step ni autor ee , aka Stephanie C.
Rawlings, Manager -MBE, LLC

GULF COAST TECHN
OF|

By: Tr

GY CORPORATION

Stephanie | Raveing 8 aka Stephanie C,
Rawlings, President of GULF COAST TECHNOLOGY
CORPORATION

LENDER:

Authorized Signer ~

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